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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


  OSBLADO JOSE-NICOLAS,         )
                                )
                 Plaintiff,     )
                                )
  vs.                           )                Case No. 15-CV-964-NJR-DGW
                                )
  NATHAN BERRY, WILLIAM QUALLS, )
  JUSTIN SNELL, MATTHEW PURDOM, )
  AIMEE LANG, ROBERT HUGHES,    )
  JASON HART,                   )
  RICHARD HARRINGTON, and       )
  KIMBERLY BUTLER,              )
                                )
                 Defendants.    )


                         MEMORANDUM AND ORDER

 ROSENSTENGEL, District Judge:

       Currently pending before the Court is the motion for partial summary judgment

 on the issue of exhaustion filed by Defendants Nathan Berry, Aimee Lang, Matthew

 Purdom, William Qualls, and Justin Snell on April 28, 2016 (Doc. 48). Based on the

 parties’ representations, the Court has determined there are no material facts in dispute

 and therefore the motion can be resolved without a hearing pursuant to Pavey v. Conley,

 544 F.3d 739 (7th Cir. 2008) (See Docs. 183, 184). For the reasons set forth below, the

 motion is denied.

                                      BACKGROUND

       Plaintiff Osbaldo Jose-Nicolas, an inmate currently incarcerated at the Menard

 Correctional Center, is proceeding on a Second Amended Complaint filed on May 2,

 2016 (Doc. 50). Plaintiff, who is represented by counsel, is proceeding on claims that


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 arose out of an incident that occurred on February 5, 2014. In short, Plaintiff alleges that

 he was attacked and beaten on that day by Defendants Nathan Berry and William

 Qualls; that Defendants Justin Snell and Matthew Purdom witnessed the attack but did

 nothing; that Defendant Aimee Lang failed to provide medical care following the attack;

 that he was deprived of due process at a subsequent disciplinary hearing by Defendants

 Robert Hughes, Jason Hart, and Richard Harrington; and that he endured

 unconstitutional conditions of confinement during the six months of segregation that

 was imposed as a result of the disciplinary hearing and those conditions were known by

 Defendants Richard Harrington and Kimberly Butler (Doc. 50, pp. 1-2). Based on these

 allegations, Plaintiff asserted an excessive force claim against Berry and Qualls

 (Count 1); a failure to intervene claim against Berry, Qualls, Snell and Purdom (Count 2);

 a deliberate indifference claim against Berry, Qualls, Snell, Purdom, and Lang

 (Count 3), 1 a due process claim against Hughes, Hart, and Harrington (Count 4);

 a conditions of confinement claim against Harrington and Butler (Count 5); state law

 claims of assault and battery against Berry and Qualls (Counts 6 and 7); a state law claim

 of intentional infliction of emotional distress claim against Berry and Qualls (Count 8);

 a state law claim of negligence against all Defendants (Count 9); and a claim for

 “Indemnification” against all Defendants. 2

         Defendants Berry, Qualls, Snell, Purdom, and Lang now seek partial summary

 judgment, arguing that Plaintiff failed to exhaust his administrative remedies on his


 1
   Plaintiff also named Dr. John Trost in Count 3, however, Dr. Trost has since been voluntarily dismissed
 from this action (Doc. 64).
 2 Plaintiff asserted a claim for “Respondeat Superior” against Wexford in Count 10, but Wexford has since

 been voluntarily dismissed from this action (Doc. 64).


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 deliberate indifference claim (Count 3) (Doc. 48). Plaintiff filed a response in opposition

 to the motion (Doc. 55). Defendants did not file a reply.

         The undisputed evidence reveals that there is only one grievance related to the

 allegations in Count 3, which is an emergency grievance dated February 26, 2014

 (Doc. 55-2). In that grievance, Plaintiff indicated that he had been assaulted and battered

 on February 5, 2014 (Doc. 55-2, p. 1-2). In the section titled “Nature of Grievance,”

 Plaintiff checked the box for “staff conduct” but did not check the box marked “medical

 treatment” (Id.) However, in the section titled “Summary of Grievance,” Plaintiff stated

 that he suffered various injuries as a result of the beating and that:

         I asked for medical attention and was seen by medical staff (Ms. Lane) two
         (2) days later. I was seen by another medical staff (Name unknown) and
         also she reffered [sic] me to have [an] x-ray taken. I also seen a dentist and
         he noticed the clicking on my jaw and reffered [sic] me to an x-ray.
         (2/7/14).

         This is a violation of my 8th Amendment right which forbids “Cruel and
         Unusual” punishment. . . . The c/o’s (Correctional Officers) used excessive
         force while I was handcuffed.

 (Id.). For relief, Plaintiff requested:

         Leave without pay (2) weeks to the correctional officers at west-cell house
         that were present/working 2/5/15. Award me with $10,000 in punitive
         damages, Compensatory damages and whatever Springfield or the Court
         seem necessary for the excessive for[ce] and deliberate indifference caused
         on me by these OFFICERS.

 (Id.)

         In the response to Plaintiff’s grievance, the grievance officer reviewed the facts as

 alleged by Plaintiff and stated in pertinent part that “Offender was taken to North 2

 where offender asked for medical attention but did not receive until 2 days later”




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 (Doc. 55-3). The response goes on to say:

        Grievance Officer referred grievance to Health Care and to Internal Affairs
        at the request of the Warden.

        Per Health Care Unit: Offender was seen on 2/5/14 and complained of
        head and right jaw and left wrist and legs hurting. Was seen again on
        2/7/14 for jaw still hurting and referred to the Dentist on the same day.
        Last follow up with Dentist was on 2/14/14.

 (Doc. 55-3).

        The grievance officer recommended denying the grievance, and the warden

 concurred with that recommendation on March 6, 2014 (Doc. 55-3). Plaintiff appealed to

 the Administrative Review Board, who affirmed the Warden’s decision on or about June

 26, 2014 (Doc. 4).

                                     LEGAL STANDARDS

 A. Summary Judgment

        The standard applied to summary judgment motions under Federal Rule of Civil

 Procedure 56 is well-settled and has been succinctly stated as follows:

        Summary judgment is appropriate where the admissible evidence shows
        that there is no genuine dispute as to any material fact and that the moving
        party is entitled to judgment as a matter of law. A “material fact“ is one
        identified by the substantive law as affecting the outcome of the suit. A
        “genuine issue” exists with respect to any such material fact . . . when “the
        evidence is such that a reasonable jury could return a verdict for the
        nonmoving party.” On the other hand, where the factual record taken as a
        whole could not lead a rational trier of fact to find for the non-moving
        party, there is nothing for a jury to do. In determining whether a genuine
        issue of material fact exists, we view the record in the light most favorable
        to the nonmoving party.

 Bunn v. Khoury Enterprises, Inc., 753 F.3d 676, 681 (7th Cir. 2014) (citations omitted).

 B. Exhaustion

        The Prison Litigation Reform Act (“PLRA”) requires prisoners to exhaust their


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 administrative remedies through the prison’s grievance process before filing a civil

 rights suit pertaining to prison conditions. 42 U.S.C. § 1997e(a); Pyles v. Nwaobasi, 829

 F.3d 860, 864 (7th Cir. 2016). The purpose of the exhaustion requirement is to “alert

 prison officials to perceived problems and to enable them to take corrective action

 without first incurring the hassle and expense of litigation.” Cannon v. Washington,

 418 F.3d 714, 719 (7th Cir. 2005). See also Maddox v. Love, 655 F.3d 709, 721 (7th Cir. 2011)

 (quoting Jones v. Bock, 549 U.S. 199, 219 (2007)).

        “The exhaustion requirement is interpreted strictly; thus, a ‘prisoner must comply

 with the specific procedures and deadlines established by the prison’s policy.’” Pyles,

 829 F.3d at 864 (quoting King v. McCarty, 781 F.3d 889, 893 (7th Cir. 2015)). As an inmate

 confined in the Illinois Department of Corrections (“IDOC”), Plaintiff was required to

 follow the three-step process outlined in the Illinois Administrative Code. Pyles, 829

 F.23d at 864 (“State law determines the administrative remedies that a state prisoner

 must exhaust for PLRA purposes.”). First, an inmate must attempt to resolve a complaint

 informally with his Counselor. ILL. ADMIN. CODE, title 20, § 504.810(a). If the complaint is

 not resolved, the inmate must submit a written grievance to the grievance officer. Id. at

 § 504.810(b). The grievance must include “contain factual details regarding each aspect

 of the offender’s complaint, including what happened, when, where, and the name of

 each person who is the subject of or who is otherwise involved in the complaint.” Id.

        The grievance is then considered by the grievance officer and the chief

 administrative officer at the facility (usually the warden), who must issue a decision

 within two months of receiving the grievance “where reasonably feasible under the




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 circumstances.” Id. at § 504.830(d). If the inmate is unsatisfied with the chief

 administrative officer’s decision, he can appeal to the Administrative Review Board for a

 final determination from the director of the IDOC. Id. at 504.850(a). The appeal must be

 filed within 30 days of the date of the chief administrative officer’s decision. Id.

                                         DISCUSSION

        There is no dispute that Plaintiff’s grievance was properly and timely submitted

 and appealed. Defendants argue, however, that the grievance “does not allege Plaintiff

 was denied medical care. In fact, the grievance states he was seen by medical staff on the

 date of the incident, two days later, and again by a dentist” (Doc. 49, p. 7). Defendants go

 on to state that “Plaintiff’s grievance here does not alert prison officials to any issues

 with his medical treatment” (Doc. 49, p. 8).

        Defendants ignore, however, that the prison read the grievance to include a

 complaint about medical care. In particular, the grievance officer stated that “offender

 asked for medical attention but did not receive until 2 days later” (Doc. 55-3) (emphasis

 added), which certainly suggests that the grievance officer believed that Plaintiff was

 complaining about the delay in medical care. Additionally, the warden himself directed

 the grievance officer to discuss the grievance with the Healthcare Unit (Doc. 55-3), which

 suggests the warden also believed that Plaintiff was complaining about medical care.

 The Court acknowledges that the grievance on its face appears to merely describe

 Plaintiff’s medical treatment and does not explicitly (or perhaps implicitly) complain

 about such care. The prison, however, read the grievance to complain about that very

 issue and responded accordingly. See e.g. Espinal v. Goord, 558 F.3d 119, 128 (2nd Cir.




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 2009) (finding that a prisoner exhausted claims that were in fact investigated by prison

 personnel). Therefore, it is clear that the prison was on notice of Plaintiff’s claim that he

 was denied adequate medical care after the alleged assault on February 5, 2014. The

 grievance, while not artful, served its function and complied with the Illinois

 Administrative Code. Thus Plaintiff is deemed to have exhausted his administrative

 remedies as to Count 3.

                        COUNT 5 AND DEFENDANT KIMBERLY BUTLER

           As a final matter, the Court sua sponte addresses the status of Count 5 and

 Kimberly Butler as a Defendant in this case. Plaintiff asserted a claim for conditions of

 confinement claim against Defendants Richard Harrington and Kimberly Butler (Count

 5). However, that claim was previously severed by the Court into a new case—Osbaldo v.

 Harrington, 3:15-cv-1317-NJR-DGW (Doc. 17). Also, to the extent the related state law

 claims in Count 9 for negligence and Count 11 for indemnification pertained to Count 5,

 Butler, and Harrington, those claims were also severed and became part of the new case

 (Doc. 17). Consequently, there are no pending claims against Defendant Butler in this

 action, she was never served with process, and she has never appeared. For this reason,

 she must be dismissed as a Defendant. Count 5 also must be dismissed from this action.

                                        CONCLUSION

           The motion for partial summary judgment on the issue of exhaustion filed by

 Defendants Nathan Berry, Aimee Lang, Matthew Purdom, William Qualls, and Justin

 Snell on April 28, 2016 (Doc. 48) is DENIED. Count 5 for unconstitutional conditions of

 confinement and Defendant Kimberly Butler are DISMISSED with prejudice from this

 action.


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 This case will proceed on the following Counts against the following Defendants:

       x   Count 1 for excessive force against Berry and Qualls;

       x   Count 2 for failure to intervene against Berry, Qualls, Snell, and Purdom;

       x   Count 3 for deliberate indifference Berry, Qualls, Snell, Purdom, and Lang;

       x   Count 4 for violation of due process against Hughes, Hart, and Harrington;

       x   Count 6 for assault against Berry and Qualls;

       x   Count 7 for battery against Berry and Qualls;

       x   Count 8 for intentional infliction of emotional distress claim against Berry and
           Qualls;

       x   Count 9 for negligence against Berry, Qualls, Snell, Purdom, Lang, Hughes,
           Hart, and Harrington; and

       x   Count 11 for “Indemnification” against Berry, Qualls, Snell, Purdom, Lang,
           Hughes, Hart, and Harrington.

       IT IS SO ORDERED.

       DATED: December 30, 2016



                                                 NANCY J. ROSENSTENGEL
                                                 United States District Judge




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